      Case 1:18-cv-24517-RNS  Document Doc
                    Case 18-15825-AJC  1-4 96-3
                                           Entered on FLSD
                                                 Filed       Docket
                                                       10/15/18     10/29/2018
                                                                 Page  1 of 1  Page 1 of 1
IN T H E COUNTY COURT IN A N D F O R
MIAMI-DADE COUNTY, FLORIDA

C I V I L D I V I S I O N «, , o n   „ /. ,            < ^
C A S E N O : ! ^ -^[^H            -^^                 ^

BRIAN HOLLAND AND ANDREA
H O L L A N D aA/a B R I A N H O L L A N D
5561 R E N T A C C O U N T

          Plaintiff,                                                                                                                               E?          r,,^
vs.                                                                                                                                                                    I?
APLUS LAMINATION & FINISHING, INC.                                                                                                          V- j J - Z
and all other occupants,                                                                                                                        '• ' • 7               -n
          Defendants.

                                                                   '                                                                                               i   CD

                                                     D E F A U L T F I N A L J U D G M E N T F O R R E M O V A L O F T E N A N T•                   -         *
                                                                                                                                                              Px        s
                       T H I S C A U S E C A M E O N T O B E H E A R D before me upon Plaintiffs Complaint for Removal o f Tenant,

          it is:

                       ORDERED AND ADJUDGED:

                                     1. That a Default Final Judgment be and the same is hereby entered in favor of Plaintiff, B R I A N

          H O L L A N D A N D A N D R E A H O L L A N D aAc/a B R I A N H O L L A N D 5561 R E N T A C C O U N T ,                                  and against the

          Defendant, A P L U S            L A M I N A T I O N & F I N I S H I N G , I N C . , a Florida Corporation, for possession o f the premises

          located at 5559 N W 3 6 * Avenue, M i a m i , Miami-Dade County, Florida 33142, for which let Writ o f Possession

          issue forthwith.

                       2.   7 T - . « ri|n;,^>;fyr           *""       ; J i i. r. ...i . n i   J.MLIL.   i   i-   u,» fjn^nn ^ f ^ ^ ^ ^ ^ ^              for which let



            D O N E A N D O R D E R E D at M i a m i , Miami-Dade County, Florida dpg-~-v                              day o f July, 20^8|.^^jp.j^                     DATED




Copies furnished to:

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